                                                 Case 5:11-cv-02509-LHK Document 1097 Filed 07/09/15 Page 1 of 1
                                                                                                                                                                                                    Clear Form


  UNITED STATES DISTRICT COURT                                                                            TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                 Please use one form per court reporter.                                                              DUE DATE:
                  CAND 435                                                                         CJA counsel please use Form CJA24
              (CAND Rev. 02/2015)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                   3. CONTACT EMAIL ADDRESS
 Prem Lall                                                                                (415) 500-6800                                                       plall@saverilawfirm.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                                  3. ATTORNEY EMAIL ADDRESS
 Joseph R. Saveri                                                                         (415) 500-6800                                                       jsaveri@saverilawfirm.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. CASE NAME                                                                             6. CASE NUMBER

Joseph Saveri Law Firm, Inc., 505 Montgomery Street,                                                          In re: High-Tech Employee Antitrust Litigation                                          11-cv-02509-LHK
Suite 625, San Francisco, CA 94111
                                                                                                             8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)ȹ ޫ FTR                                          倯 APPEAL             倯 CRIMINAL      倯 In forma pauperis (NOTE: Court order for transcripts must be attached)

Kimberly Thorpe                                                                                              倯 NON-APPEAL         ✔ CIVIL
                                                                                                                                  倯               CJA: Do not use this form; use Form CJA24.

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                         b.             SELECT FORMAT(S) (NOTE: ECF access is included          c.         DELIVERY TYPE ( Choose one per line)
                                                                                                         with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE             TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS     ORDINARY     14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,        (email)        (email)                   (email)      (web)       (30-day)                (7-day)     (Next day)    (2 hrs)
                     (initials)     (e.g. CMC)   specify portion (e.g. witness or time)

07/09/2015            LHK             Hrg                                                       ●
                                                                                                F              F            F               F        F             F           F          F            F           F
                                                                                                                                                                                                                   ●           F
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                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:

 Final Approval Hearing
ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                               12. DATE

11. SIGNATURE
                    /s/Joseph R. Saveri                                                                                                                                           07/09/2015

DISTRIBUTION:                                倯 COURT COPY                                                倯 TRANSCRIPTION COPY                               倯 ORDER RECEIPT                                倯 ORDER COPY
